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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLORADO

In re:                                                    )
                                                          )    Case No. 20-12689 JGR
UC COLORADO CORPORATION,                                  )
                                                          )    Chapter 11
                           Debtor.                        )    (Request for Joint Administration Pending)


In re:                                                    )
                                                          )    Case No. 20-12692 JGR
UNITED CANNABIS CORPORATION,                              )
                                                          )    Chapter 11
                           Debtor.                        )


ORDER ESTABLISHING BAR DATE FOR THE FILING OF PROOFS OF CLAIM PURSUANT
                      TO FED. R. BANKR. P. 3003(c)(3)


        THIS COURT, having reviewed the Motion for Order Establishing Bar Date for the Filing of
Proofs of Claim Pursuant to Fed. R. Bankr. P. 3003(c)(3) (the “Motion”), filed by UC Colorado
Corporation and United Cannabis Corporation (together, the “Debtors”), debtors-in-possession, being
advised in the premises and good cause having been shown, hereby:

         ORDERS that the motion is GRANTED.

          IT IS FURTHER ORDERED that the Proofs of Claim in the above-captioned chapter 11
bankruptcy cases must be filed no later than $XJXVW, 2020 (the “Bar Date”). The Bar Date applies to
all entities2 holding claims against the Debtors that arose or are deemed to have arisen prior to April 20,
2020 (the “Petition Date”). The Bar Date further applies to all types of claims against the Debtors that
arose prior to the Petition Date, including secured claims, unsecured priority claims (including, without
limitation, claims entitled to priority under 11 U.S.C. §§ 507(a) and 503(b)(9)) and unsecured nonpriority
claims. The filing of a proof of claim form shall be deemed to satisfy the procedural requirements for
the assertion of administrative priority claims under 11 U.S.C. § 503(b)(9).

        IT IS FURTHER ORDERED that any creditor holding a claim arising prior to the Petition Date
must file a proof of claim with the court if the claim is: (i) not scheduled, (ii) scheduled as disputed,
contingent, or unliquidated, or unknown, or (iii) if such creditor disagrees with the amount or nature of the
scheduled claim.

         IT IS FURTHER ORDERED that all administrative claims under 11 U.S.C. § 503(b) (other than
under § 503(b)(9)) must be made by separate requests for payment in accordance with 11 U.S.C. § 503(a)
and will be disregarded if made by proof of claim. The Bar Date will not apply to administrative expense
claims (other than claims under § 503(b)(9)), claims of governmental entities, and claims of professionals
for post-petition fees and expenses.

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 As used herein, the term “entity” has the meaning given to it in section 101(15) of the Bankruptcy Code and includes,
among other things, “persons” as such term is defined in section 101(41) of the Bankruptcy Code.
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         IT IS FURTHER ORDERED that any claims filed after the Bar Date will be DISALLOWED. Any
individual or entity that is required to file a proof of claim and that fails to do so by the Bar Date will not
be treated as a creditor for the purposes of voting or distribution, may not receive any further notices of
mailings in these chapter 11 cases and any claim of such individual or entity may be forever barred against
Debtors.3

        IT IS FURTHER ORDERED that following the Bar Date, a creditor must obtain Court approval to
amend a claim deemed filed on its behalf pursuant to 11 U.S.C. § 1111(a) by virtue of the listing of such
claim by Debtors in their bankruptcy schedules.

       IT IS FURTHER ORDERED that a copy of this order, notice in the form attached hereto as Exhibit
A, and a proof of claim form must be served on all parties-in-interest pursuant to Fed. R. Bankr. P.
2002(a)(7) within three business days from entry of this order, and a certificate of service filed evidencing
same.

        IT IS FURTHER ORDERED that the proof of claim form transmitted to creditors must comply
with Official Form 410 in all respects.

          DATED this ______
                       WK day of ______________________,
                                       -XQH                2020.

                                                                   BY THE COURT:
                                                                        E CO
                                                                          C  URT:


                                                                   ____________________________
                                                                       _____
                                                                          _ ____________
                                                                   Hon. Joseph
                                                                        Jose p G. Rosani
                                                                          seeph   Rosania, Jr.
                                                                   United States Bankruptcy Judge




3   Subject to 11 U.S.C. § 726(a)(1) in the event of conversion.
